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                                                                                                                   Feb 07 2022

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                                  1                                                                      NORTHERN DISTRICT OF CALIFORNIA
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                                  7                                  UNITED STATES DISTRICT COURT
                                  8                            NORTHERN DISTRICT OF CALIFORNIA
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                                  10     ASHOK BABU, and others,
                                                                                        Case No. 18-cv-07677-NC
                                  11                   Plaintiffs,
                                                                                        ORDER GRANTING PLAINTIFFS’
                                                 v.
Northern District of California




                                  12                                                    MOTIONS FOR FINAL APPROVAL
 United States District Court




                                                                                        OF CONSENT DECREE AND
                                  13     GREGORY J. AHERN, and others,                  ATTORNEYS’ FEES
                                  14                   Defendants.                      Re: ECF 283, 421
                                  15
                                  16          This case arises out of Plaintiff Ashok Babu, Robert Bell, Ibrahim Keegan-
                                  17   Hornesby, Demarea Johnson, Brandon Jones, Stephanie Navarro, Roberto Serrano, and
                                  18   Alexander Washington’s class action complaint against Defendants County of Alameda,
                                  19   Gregory J. Ahern, and Carol Burton. Plaintiffs sought injunctive relief on behalf of the
                                  20   class of individuals incarcerated at the Jail, and the subclass of incarcerated individuals
                                  21   with mental health diagnoses and/or other psychiatric disabilities, for cruel and unusual use
                                  22   of isolation, failure to provide due process to prisoners, failure to provide adequate mental
                                  23   health care to prisoners, and failure to provide reasonable accommodations to prisoners
                                  24   with disabilities at Santa Rita Jail. ECF 1. In August 2020, Plaintiffs amended the
                                  25   complaint to include COVID-19 related deficiencies at the Jail. ECF 186. Over the past
                                  26   three years, the parties participated in seventeen settlement conferences that resulted in the
                                  27   proposed Consent Decree before the Court.
                                  28          On September 24, 2021, the Court preliminarily approved the parties’ proposed
                                  1    Consent Decree and directed them to provide notice of the Consent Decree to the Class
                                  2    and Subclass according to the Notice Plan. ECF 280. On January 12, 2022, Plaintiffs filed
                                  3    the instant Motion for Final Approval. ECF 421. The Court held a hearing on the motion
                                  4    on January 19, 2022, and determined it prudent to hold a second hearing on January 27,
                                  5    2022, to hear directly from Class Members. Having considered Plaintiffs’ Motions for
                                  6    Final Approval and Attorneys’ Fees, Defendants’ Non-Opposition, and all of the testimony
                                  7    presented at the Final Approval Hearings on January 19, 2022, and January 27, 2022, and
                                  8    for good cause shown, IT IS HEREBY ORDERED as follows:
                                  9           1.     All capitalized terms in this order shall have the meanings ascribed to those
                                  10   terms in the Settlement Agreements, unless otherwise defined herein.
                                  11          2.     All parties have consented to the jurisdiction of a magistrate judge under 28
                                       U.S.C. § 636(c). ECF 12; ECF 15.
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                                  13   I.     THE SETTLEMENT IS FAIR, ADEQUATE, AND REASONABLE
                                  14          3.     To approve a class action settlement under Federal Rule of Civil Procedure
                                  15   23(e), a court must find the settlement “fair, adequate, and reasonable.” Hanlon v.
                                  16   Chrysler Corp., 150 F.3d 1011, 1027 (9th Cir. 1998). In assessing the proposal, the court
                                  17   may consider: “the strength of the plaintiffs’ case; the risk, expense, complexity, and likely
                                  18   duration of further litigation; the risk of maintaining class action status throughout the trial;
                                  19   the amount offered in settlement; the extent of discovery completed and the stage of the
                                  20   proceedings; the experience and views of counsel; the presence of a governmental
                                  21   participant; and the reaction of the class members to the proposed settlement.” Id. at 1026.
                                  22   The Court finds the Consent Decree fair, adequate, and reasonable in light of these factors.
                                  23          4.     First, the Consent Decree reflects the strength of Plaintiffs’ case as well as
                                  24   the Defendants’ position. The parties extensively evaluated the merits of the case and their
                                  25   positions, and settlement at this time will avoid substantial costs to all parties and avoid the
                                  26   delay and risks presented by further litigation. The Court is also satisfied that the Consent
                                  27   Decree was reached after intensive and prolonged arm’s length negotiations by capable
                                  28   counsel, with input from the United States Department of Justice and under the supervision
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                                  1    of Magistrate Judge Laurel Beeler, and was not a product of fraud, overreaching, or
                                  2    collusion among the parties. Id. at 1290.
                                  3           5.     Second, the extent of discovery completed and the stage of proceedings
                                  4    support approval. The last four years of factual investigation and legal analysis were
                                  5    substantial. Even before filing the complaint, Class Counsel spent hundreds of hours
                                  6    communicating with incarcerated individuals by phone and in writing to understand the
                                  7    Jail’s inhumane conditions. After filing the complaint, Class Counsel reviewed over
                                  8    57,000 pages of documents, attended multiple tours of the Jail over approximately eight
                                  9    days, and retained neutral experts to investigate and render reports on the conditions in the
                                  10   Jail. The discovery process has been thorough.
                                  11          6.     Third, Plaintiffs sued for injunctive relief, and the resultant Consent Decree
                                       provides substantial changes to the policies, procedures, and facilities at the Jail.
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                                  13                 a. Some of the Consent Decree’s benefits for Class Members are:
                                  14                     implementation of a new classification system to determine custody
                                  15                     levels, reconfiguration of outdoor recreation spaces to maximize out-of-
                                  16                     cell time, adoption of policies to ensure that outdoor time is maximized, a
                                  17                     new (over four times higher) minimum out-of-cell time requirement,
                                  18                     implementation of an electronic information tracking system for out-of-
                                  19                     cell time and access to the data for Class Counsel and the Joint Experts,
                                  20                     establishment of an Inmate Advisory Council and Ombudsperson
                                  21                     Program to provide a new venue at the Jail for incarcerated individuals to
                                  22                     raise concerns, updated policies regarding program eligibility and
                                  23                     expansion of program offerings, implementation of an updated written
                                  24                     use-of-force policy that will be available for review, implementation of a
                                  25                     tracking system for the current grievance process and stricter response
                                  26                     timelines, requirements for Defendants to maintain sufficient mental
                                  27                     health staff to allow access to all individuals, and COVID-19 precaution
                                  28                     measures consistent with up-to-date public health guidance.
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                                  1                  b. Some of the Consent Decree’s benefits for Subclass Members are:
                                  2                     requirements that Defendants ensure that individuals receive adequate
                                  3                     metal health care, establishment of one or more Therapeutic Housing
                                  4                     Units for people with serious mental illness, additional out-of-cell time
                                  5                     for individuals in Therapeutic Housing Units, increased programming
                                  6                     (with equal access for individuals with psychiatric disabilities) as a means
                                  7                     to prevent self-harm, a requirement that AFBH be consulted before pre-
                                  8                     planned uses of force on individuals with known psychiatric disabilities,
                                  9                     improved discharge planning to ensure that individuals with mental
                                  10                    health disabilities are able to transition seamlessly to community-based
                                  11                    services upon release, and employment of a full-time ADA Coordinator
                                                        to help facilitate ADA-related grievances and accommodation requests.
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                                  13   This comprehensive injunctive relief will benefit all Class and Subclass members and
                                  14   weighs strongly in favor of approval.
                                  15          7.     Fourth, the views of Class Counsel, experienced prison class action
                                  16   litigators, weighs in favor of final approval. Class Counsel have conducted an extensive
                                  17   investigation in to the factual and legal issues raised in this action and endorse the Consent
                                  18   Decree as fair, adequate, and reasonable.
                                  19          8.     Fifth, approval is supported by the presence of the DOJ. In addition to its
                                  20   participation in the settlement process and non-opposition to the Consent Decree, the DOJ
                                  21   will continue to be involved in the monitoring and implementation of the Consent Decree.
                                  22   The DOJ will tour the Jail with the Joint Experts, receive independent access to the Jail
                                  23   and documents relevant to its April 22, 2021, report, and send its own mental health expert
                                  24   to tour the Jail twice a year. DOJ’s substantial role in reaching and implementing this
                                  25   Consent Decree weighs in favor of final approval.
                                  26          9.     Sixth, Class Members and community member responses raised several
                                  27   concerns about conditions at the Jail and ultimately, further emphasized the need for the
                                  28   Consent Decree. During the notice period, objectors and interested community members
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                                  1    filed 131 responses to the Consent Decree. See ECF 286-381, 383-412. Of the 131 filings,
                                  2    110 were from Class Members, thirteen were from interested community members
                                  3    (including former State Senator Loni Hancock), and nine were from organizations,
                                  4    including: Alameda County Families Advocating for the Seriously Mentally Ill, Alliance
                                  5    on Mental Illness (Alameda County Affiliate), the American Friends Service Committee,
                                  6    the Anti-Police Terror Project, Critical Resistance, Legal Services for Prisoners with
                                  7    Children, Mental Health First Oakland, the National Alliance on Mental Illness,
                                  8    Psychologists for Social Responsibility, and the National Lawyers Guild (San Francisco
                                  9    Chapter). At the January 19, 2022, hearing, the Court invited objectors’ counsel and
                                  10   interested community members to respond to the Consent Decree. After hearing from 24
                                  11   individuals, the Court continued the hearing to January 27, 2022, to hear directly from
                                       incarcerated Class Members. With substantial assistance from Class Counsel and
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                                  13   Defendants, the Court was able to connect to the Jail and hear from the 37 Class Members
                                  14   who requested to speak. The objections and community responses raised common themes:
                                  15                 a. First, numerous objectors raised concerns about commissary prices, poor
                                  16                    quality of food, laundry service, and cell cleanliness. These topics are not
                                  17                    at issue in this case; thus, the Court directs concerned individuals to look
                                  18                    into whether the other two pending cases against the Jail to see if they
                                  19                    raise their concerns: Mohrbacher v. Alameda Cnty. Sheriff’s Office et al.,
                                  20                    Case No. 3:18-cv-00050-JD (N.D. Cal.) and Gonzalez et al. v. Ahern et
                                  21                    al., Case No. 3:19-cv-07423-JSC (N.D. Cal.).
                                  22                 b. Second, many spoke about inhumane conditions at the Jail, citing

                                  23                    minimal out-of-cell time, lack of access to mental health resources, an
                                  24                    unresponsive grievance process, and unchecked uses of force. The Court
                                  25                    agrees that these conditions are unconstitutional, and they demonstrate
                                  26                    the need for the reforms mandated in the Consent Decree.
                                  27                 c. Third, Objector’s Counsel, Yolanda Huang, argued that the Consent
                                  28                    Decree offered no benefits for 96% of incarcerated individuals. See ECF
                                                                                    5
                                  1       381 at 15. It is not clear how Ms. Huang arrived at this percentage.
                                  2       However, after evaluating the Consent Decree and hearing countless
                                  3       individuals testify about the lack of out-of-cell time, the Court is
                                  4       convinced that a reform is necessary and the increase provided by the
                                  5       Consent Decree, while perhaps not Ms. Huang’s ideal, is markedly better
                                  6       than the current situation.
                                  7    d. Fourth, some objectors stated that the Consent Decree should not be

                                  8       approved because the conditions at the Jail have not improved over time.
                                  9       The Court reinforces that the Consent Decree has not been implemented
                                  10      yet, so its effectiveness is to be seen.
                                  11   e. Fifth, many objectors requested further discovery, but the Court reiterates
                                          that discovery has been thorough. Class Counsel spent over four years
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                                  13      collecting information from individuals about Jail conditions and retained
                                  14      advice from the DOJ and correctional facility experts. Although more
                                  15      discovery may be beneficial, that benefit would come at the expense of
                                  16      Class Members who would continue to suffer under current conditions.
                                  17   f. Sixth, objectors also raised concerns about the lack of monetary relief for
                                  18      Class Members or preclusion from future recovery. This complaint
                                  19      sought only injunctive relief, so Class Members are not barred from suing
                                  20      for individual damages. See Hiser v. Franklin, 94 F.3d 1287, 1291 (9th
                                  21      Cir. 1996) (stating that “a class action suit seeking only declaratory and
                                  22      injunctive relief does not bar subsequent individual damages claims y
                                  23      class members, even if based on the same events.”) Further, the Consent
                                  24      Decree does not preclude future litigation based on future conduct or for
                                  25      injunctive relief on subjects not covered by the Consent Decree.
                                  26   g. Seventh, Ms. Huang also labels the Consent Decree a “sham” and “sweet
                                  27      heart dance” pointing to the Board of Supervisor’s Jail budget increase
                                  28      and Class Counsel’s undeserved fees award. See ECF 381 at 20. As to
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                                  1                      the first concern, Plaintiffs clarified that the Consent Decree does not
                                  2                      fund new positions, instead it sets requirements about how existing
                                  3                      positions must be staffed. ECF 432 at 5. Specifically, the Consent
                                  4                      Decree requires that new staff be assigned to the Jail and not diverted to
                                  5                      the Sheriff’s other functions. Second, while discovery may not have
                                  6                      followed Ms. Huang’s preferred path, the Court is assured by Judge
                                  7                      Beeler’s supervision over the settlement process and the parties’ efforts
                                  8                      over the last four years that discovery was sufficient. Finally, given the
                                  9                      extent of discovery and Class Counsel’s other responsibilities in this case,
                                  10                     including the continued monitoring and implementation of the Consent
                                  11                     Decree, the agreed upon fees are reasonable.
                                                     h. Finally, numerous objectors implored that the Jail should not be the
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                                  13                     County’s primary mental health care facility. The Court whole-heartedly
                                  14                     agrees with this sentiment. Approval of this Consent Decree is not
                                  15                     intended to prevent Defendants or Alameda County from funding
                                  16                     community-based mental health services. However, the Court cannot
                                  17                     direct the County on how to allocate its finances. Ultimately, the
                                  18                     decision to fund certain institutions over others is the County’s. And if
                                  19                     the County chooses to continue funding a jail, the Court seeks to ensure
                                  20                     that the conditions in that jail are constitutional.
                                  21   In sum, the pertinent objections do not dissuade the Court from approval because they
                                  22   highlight the pressing need to reform the Jail’s policies and procedures.
                                  23          10.    Finally, the Court finds that the Consent Decree satisfies the requirements of
                                  24   18 U.S.C. § 3626(a)(1)(A): it is narrowly drawn, extends no further than necessary to
                                  25   correct the violation of the federal right, and is the least intrusive means necessary to
                                  26   correct the violation of federal rights.
                                  27   //
                                  28   //
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                                  1    II.    NOTICE DISTRIBUTION WAS APPROPRIATE
                                  2           11.    The Court finds that Class Counsel distributed notice in a manner and form
                                  3    consistent with the Preliminary Approval Order and Notice Plan and meets the
                                  4    requirements of due process and Federal Rule of Civil Procedure 23. Ms. Huang raised
                                  5    several concerns about the adequacy of notice, but the Court maintains that notice was
                                  6    sufficient. See ECF 381. First, the Class here is limited to individuals currently
                                  7    incarcerated at the Jail, so the Notice Plan’s omission of individuals not currently
                                  8    incarcerated does not present a due process violation. Although individuals who are not
                                  9    currently at the Jail may later become incarcerated, they will receive notice of the Consent
                                  10   Decree at that time. Further, participation of hundreds of interested community members
                                  11   at both hearings indicates that, while not included in the formal Notice Plan, there was
                                       ample notice outside of the Jail. Second, the Court is satisfied by the parties’ assurances in
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                                  13   writing and at the hearings that notice was provided in several languages, including
                                  14   Spanish. See ECF 421 at 17. Finally, the Court does not doubt that some objectors may
                                  15   have had difficulties accessing paper copies of the documents, but the Court finds that
                                  16   Class Counsel’s efforts to distribute copies of the Consent Decree and FAQs satisfy the
                                  17   Notice Plan and due process requirements. Id. at 18.
                                  18   III.   MOTION FOR ATTORNEYS’ FEES
                                  19          12.    This class action is certified pursuant to Federal Rule of Civil Procedure
                                  20   23(b)(2). Thus, the Court may award attorneys’ fees and costs under Rule 23(h).
                                  21          13.    Plaintiffs are “prevailing parties” under 42 U.S.C § 1983, 42 U.S.C. § 12205,
                                  22   and 29 U.S.C. § 794a(b) and “successful parties” under Cal. Code Civ. Proc. § 1021.5. An
                                  23   attorneys’ fees award is appropriate under the state law and federal fee-shifting statutes.
                                  24          14.    Plaintiffs are represented by Class Counsel at Rosen Bien Galvan &
                                  25   Grunfeld LLP. Class Counsel’s requested rates are in line with market rates in the San
                                  26   Francisco Bay Area for work of similar complexity by attorneys of similar skills and
                                  27   experience. Class Counsel are experienced in litigating disability access, prisoner’s rights,
                                  28   and other class actions. Specifically, Class Counsel have represented incarcerated
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                                  1    plaintiffs in such cases as: Coleman v. Schwarzenegger, 922 F. Supp. 2d 882 (E.D. Cal.
                                  2    2009); Armstrong v. Newsom, 484 F. Supp. 3d 808 (N.D. Cal. 2020); Hernandez v. Cnty.
                                  3    of Monterey, 306 F.R.D. 279 (N.D. Cal. 20150, Brown v. Plata, 131 S. Ct. 1910 (2011);
                                  4    and G.F. v. Contra Costa Cnty., Case No. 13-cv-03667-MEJ, 2015 U.S. Dist. LEXIS
                                  5    159597 (N.D. Cal. Nov. 25, 2015).
                                  6           15.    The rates Class Counsel requests are reasonable and appropriate given their
                                  7    work in this litigation. Class Counsel’s role included: hundreds of hours of pre-litigation
                                  8    investigation into conditions at the Jail; skilled litigation work in drafting the original
                                  9    complaint and amending the complaint to include COVID-19 related compliance failures;
                                  10   conducting several in-person visits to the Jail with neutral experts to further assess the
                                  11   context of classifications, use of restrictive housing, metal health care access, use of force,
                                       ADA accommodations, and other correctional practices; participating in several settlement
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                                  13   conferences before Judge Beeler; and negotiating a Consent Decree with Defendants.
                                  14          16.    The time Class Counsel devoted to this case was appropriate given the
                                  15   length, intensity, and nature of the litigation. In calculating their fees, Class Counsel
                                  16   exercised billing judgments and reduced their lodestar; they have continued to exercise
                                  17   billing judgment for the work performed through December 31, 2021. See ECF 283-1.
                                  18   The Court finds these billing judgment reductions reasonable and appropriate.
                                  19          17.    Class Counsel is entitled to recover the costs advanced to bring this litigation
                                  20   on behalf of the Class. From September 1, 2017, through December 31, 2021, after
                                  21   reasonable billing judgment reductions, Class Counsel billed a total of 5121.6 hours for a
                                  22   lodestar of $2,911,278.50. After adding $35,364.39 in costs and expenses, Class
                                  23   Counsel’s total bill comes to $2,946,642.89. The Court finds this total amount reasonable
                                  24   and appropriate. This amount does not include additional fees and costs for work that
                                  25   Class Counsel continues to perform. However, as agreed to in the Consent Decree, Class
                                  26   Counsel seek no more than $2,150,000.00 for work performed through the Effective Date.
                                  27          18.    Attorneys are entitled to recover fees for time spent monitoring and
                                  28   enforcing compliance with settlement agreements in civil rights lawsuits even if the
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                                  1    monitoring does not result in additional judicial relief. Accordingly, Plaintiffs are entitled
                                  2    to attorneys’ fees and costs for implementation and monitoring of the Consent Decree.
                                  3           19.    The agreed-upon monitoring process is appropriate and necessarily robust.
                                  4    The Consent Decree details extensive monitoring work to be performed by Class Counsel,
                                  5    including work required to implement policies required by the Consent Decree.
                                  6           20.    The parties have agreed to the following yearly caps on attorneys’ fees for
                                  7    work performed to monitor and implement the Consent Decree: up to $550,000 for year
                                  8    one; up to $450,000 for year two; up to $375,000 for year three; up to $300,000 for each of
                                  9    years four and five; and up to $275,000 for year six and for each of any subsequent years.
                                  10   The Court finds these caps reasonable given the volume of the work to be performed.
                                  11          21.    The parties have further agreed to the following process for billing and
                                       payment of monitoring fees: At quarterly intervals starting three months after the Effective
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                                  13   Date, Plaintiffs shall provide Defendants with a written demand for Monitoring Fees using
                                  14   Class Counsel’s ordinary rates. Such a demand shall be submitted within a reasonable
                                  15   time after the expiration of each quarterly period, and no later than thirty days absent
                                  16   written agreement otherwise. Defendants shall issue payment within sixty days of receipt
                                  17   absent written agreement otherwise. Demands made within the agreed-upon caps shall be
                                  18   presumed reasonable. If the parties cannot agree as to reasonableness of hours incurred or
                                  19   work performed, their dispute shall be subject to the Dispute Resolution procedures set
                                  20   forth in the Consent Decree. The Court finds this process reasonable and appropriate to
                                  21   ensure the accuracy of requests for monitoring fees and resolution of disputes and orders
                                  22   payment accordingly and subject to the provisions in Section VII of the Consent Decree.
                                  23   IV.    CONCLUSION
                                  24          22.    The Court GRANTS final approval of the Consent Decree and ORDERS the
                                  25   parties to comply with its terms.
                                  26          23.    Defendants are ORDERED to pay Plaintiffs $2,150,000.00 for reasonable
                                  27   attorneys’ fees and costs.
                                  28   //
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                                  1          24.    Pursuant to Section X of the Consent Decree, the Court retains jurisdiction to
                                  2    enforce the terms and limitations of the Consent Decree and to resolve disputes regarding
                                  3    compliance with the Consent Decree.
                                  4
                                  5          IT IS SO ORDERED.
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                                  7    Dated: February 7, 2022                  _____________________________________
                                                                                      NATHANAEL M. COUSINS
                                  8                                                   United States Magistrate Judge
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